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indicated they want to depose each of the individuals identified as anticipated fact witnesses by
the other party to the extent those depositions have not already occurred. Based on the currently
anticipated list of fact witnesses, for Plaintiff this means we will be taking 5 depositions (in
addition to the 1 deposition that we have taken thus far), including the deposition of the Defendant.
For Defendant this means defense counsel will be taking 7 additional depositions including
finishing the deposition of the Plaintiff. In addition, defense counsel has indicated they intend to
depose 3 additional individuals – Rina Oh, and Virginia’s mother and father. Plaintiff anticipates
objecting to those depositions, but will address the issue with the Court when and if those
depositions are in fact noticed.

        Fourth, it appears there will be extensive expert discovery. Plaintiff has identified three
affirmative expert witnesses and may add others if Defendant continues to claim physical,
emotional, and mental damages. We currently anticipate submitting expert testimony from an
expert on sex trafficking, a forensic psychologist, and an expert on the dissemination of
Defendant’s defamatory statements over the internet. As noted above, however, this list could
expand depending on what claims of the Defendant remain in the case. Defendant has identified
five potential expert witnesses (or at least topics). This expert discovery will require at a minimum
two psychiatric evaluations of Plaintiff (one from Plaintiff’s expert and one from Defendant’s
expert), and Defendant has indicated an intention to seek a physical evaluation of Plaintiff as well,
which Plaintiff anticipates objecting to, but in either case will require time to resolve the objection
and/or schedule.

        With respect to Plaintiff’s currently anticipated list of fact witnesses, we have identified
the following individuals we plan to call in-person at trial:

       1.   Virginia Giuffre
       2.   David Boies
       3.   Sigrid McCawley
       4.   Brad Edwards
       5.   Paul Cassell
       6.   David Stone
       7.   Anousaka de Georgiou

In addition, we currently anticipate submitting recorded deposition testimony from a number of
witnesses.

        We also would like to respectfully raise one matter that has been pending with the Court
the resolution of which would aid in preparing for Defendant’s deposition. Although Defendant
demanded and received Plaintiff’s tax returns, Defendant has still not complied with the Court’s
Order of February 14, 2022 (Doc. 401) requiring him to produce his tax returns. Defendant filed a
Letter Motion for a Local 37.2 Conference requesting relief from the Order requiring him to
produce his tax returns (Doc. 465), which is presumably why he has not yet complied with the
Court’s Order. Plaintiff responded in opposition to that request (Doc. 466), and the matter is fully
briefed and is awaiting the Court’s resolution.
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                                     Respectfully,

                                     s/ Charles J. Cooper
                                     Charles J. Cooper



CC:    Counsel of Record (via ECF)
